      Case 6:23-cv-00943-CEM-UAM                      Document 1-2           Filed 05/22/23    Page 1 of 24 PageID 19

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                          Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                 v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                HALIFAX CHIROPRACTIC & INJURY CLINIC, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                                CLERK OF COURT

 Date: ___________________
                                                                                       Signature of Clerk or Deputy Clerk
     Case 6:23-cv-00943-CEM-UAM                          Document 1-2           Filed 05/22/23         Page 2 of 24 PageID 20

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                         Printed name and title




Additional information regarding attempted service, etc:
      Case 6:23-cv-00943-CEM-UAM                      Document 1-2           Filed 05/22/23    Page 3 of 24 PageID 21

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                         Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                NO UTTER WAY d/b/a PREFERRED INJURY PHYSICIANS
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                                CLERK OF COURT

 Date: ______________________
                                                                                       Signature of Clerk or Deputy Clerk
     Case 6:23-cv-00943-CEM-UAM                          Document 1-2           Filed 05/22/23         Page 4 of 24 PageID 22

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                         Printed name and title




Additional information regarding attempted service, etc:
      Case 6:23-cv-00943-CEM-UAM                      Document 1-2           Filed 05/22/23    Page 5 of 24 PageID 23

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                         Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                PREFERRED INJURY PHYSICIANS OF BRANDON, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                                CLERK OF COURT

 Date: ______________________
                                                                                       Signature of Clerk or Deputy Clerk
     Case 6:23-cv-00943-CEM-UAM                          Document 1-2           Filed 05/22/23         Page 6 of 24 PageID 24

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                         Printed name and title




Additional information regarding attempted service, etc:
      Case 6:23-cv-00943-CEM-UAM                      Document 1-2           Filed 05/22/23    Page 7 of 24 PageID 25

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                          Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                   v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                 PREFERRED INJURY PHYSICIANS OF EAST ORLANDO, INC.
                                        Registered Agent: Ronald Jack T. Utter
                                        437 N. Clyde Morris Blvd
                                        Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                                CLERK OF COURT

 Date: ______________________
                                                                                       Signature of Clerk or Deputy Clerk
     Case 6:23-cv-00943-CEM-UAM                          Document 1-2           Filed 05/22/23         Page 8 of 24 PageID 26

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                         Printed name and title




Additional information regarding attempted service, etc:
      Case 6:23-cv-00943-CEM-UAM                      Document 1-2           Filed 05/22/23     Page 9 of 24 PageID 27

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                          Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                PREFERRED INJURY PHYSICIANS OF KISSIMMEE, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                               CLERK OF COURT

    Date: ______________________
                                                                                        Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23        Page 10 of 24 PageID 28

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
     Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23    Page 11 of 24 PageID 29

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                          ]Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                 v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:               PREFERRED INJURY PHYSICIANS OF ORANGE CITY, INC.
                                      d/b/a PREFERRED INJURY PHYSICIANS OF DELTONA
                                      Registered Agent: Ronald Jack T. Utter
                                      437 N. Clyde Morris Blvd
                                      Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                                CLERK OF COURT

 Date: ______________________
                                                                                        Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23        Page 12 of 24 PageID 30

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
     Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23    Page 13 of 24 PageID 31

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                          Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                PREFERRED INJURY PHYSICIANS OF ST. PETERSBURG, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                               CLERK OF COURT

    Date: ______________________
                                                                                        Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23        Page 14 of 24 PageID 32

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
     Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23    Page 15 of 24 PageID 33

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                           Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                PREFERRED INJURY PHYSICIANS OF TEMPLE TERRACE, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                               CLERK OF COURT


Date: ______________________
                                                                                        Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23        Page 16 of 24 PageID 34

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
     Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23     Page 17 of 24 PageID 35

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                          Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                PREFERRED INJURY PHYSICIANS OF TOWN & COUNTRY, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                                CLERK OF COURT

 Date: ______________________
                                                                                        Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23        Page 18 of 24 PageID 36

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
     Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23    Page 19 of 24 PageID 37

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                           Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                PREFERRED INJURY PHYSICIANS OF WESLEY CHAPEL, INC.
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                 John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                               CLERK OF COURT

      Date: ______________________
                                                                                        Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23         Page 20 of 24 PageID 38

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

             I servedthe summons on (name ofindividual)                                                                       ,who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             Ireturnedthe summons unexecutedbecause                                                                              ; or

             Other (specify):
                                                                                                                                            .


          My fees are $                            for travel and $                   for services, for a total of $                    .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
     Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23         Page 21 of 24 PageID 39

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the

                                                        Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                              Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                      Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                    Defendants

                                                  SUMMONS IN A CIVIL ACTION

                    To:                UTTER CORP
                                       Registered Agent: Ronald Jack T. Utter
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:
                                                  John P. Marino, Esq.
                                                 Rivkin Radler, LLP
                                                 1301 Riverplace Blvd., Suite 1000
                                                 Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                               CLERK OF COURT

 Date: ___________________                                                     Signature of Clerk or Deputy Clerk
    Case 6:23-cv-00943-CEM-UAM                           Document 1-2           Filed 05/22/23         Page 22 of 24 PageID 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
was received by me on (date)                                          .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the                 last known address; or

               I served the summons on (name of individual)                                                                      , who
                                                                                                                                     is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

             I returned the summons unexecuted because                                                                            ; or

             Other (specify):
                                                                                                                                              .


          My fees are $                            for travel and $                   for services, for a total of $                      .


          I declare under penalty of perjury that this information is true.


Date: __________________



                                                                                          Printed name and title




Additional information regarding attempted service, etc:
    Case 6:23-cv-00943-CEM-UAM                       Document 1-2           Filed 05/22/23     Page 23 of 24 PageID 41

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  for the

                                                       Middle District of Florida

GOVERNMENT EMPLOYEES
INSURANCE CO., GEICO INDEMNITY                                                         Civil Action No.:
CO, GEICO GENERAL INSURANCE
COMPANY, and GEICO CASUALTY CO.,


                                                     Plaintiffs
                                  v.

RONALD JACK TRAVIS UTTER, D.C., NO
UTTER WAY d/b/a PREFERRED INJURY
PHYSICIANS, HALIFAX CHIROPRACTIC &
INJURY CLINIC, INC., PREFERRED INJURY
PHYSICIANS OF BRANDON, INC., ET AL.,

                                                   Defendants

                                                 SUMMONS IN A CIVIL ACTION

                   To:                 Ronald Jack Travis Utter, D.C.
                                       437 N. Clyde Morris Blvd
                                       Daytona Beach, FL 32114

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you are
 the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                                                                                                                  ey, whose
 name and address are:

                                                John P. Marino, Esq.
                                                Rivkin Radler, LLP
                                                1301 Riverplace Blvd., Suite 1000
                                                Jacksonville, Florida 32207
       If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.

                                                                               CLERK OF COURT

 Date: ______________________
                                                                                       Signature of Clerk or Deputy Clerk
     Case 6:23-cv-00943-CEM-UAM                          Document 1-2           Filed 05/22/23         Page 24 of 24 PageID 42

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

             This summons for (name of individual and title, if any)
was received by me on (date)                                           .

                                                                            (place)
                                                                                  on (date)                            ; or

                                                                                                         (name)
                                                                  , a person of suitable age and discretion who resides there,
             on (date)                             , and mailed a copy to the                 last known address; or

                I served the summons on (name of individual)                                                                     , who
                                                                                                                                     is
             designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

               I returned the summons unexecuted because                                                                          ; or

               Other (specify):
                                                                                                                                              .


             My fees are $                         for travel and $                   for services, for a total of $                      .


             I declare under penalty of perjury that this information is true.


 Date: __________________



                                                                                          Printed name and title




 Additional information regarding attempted service, etc:




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